AO 72A
(Rev. 8/82)

 

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Iu the United States District Court
For the Southern District of Georgia
Waycross Dibision

MIGUEL PONCE-GONZALEZ, *
*
Petitioner, * CIVIL ACTION NO.: 5:20-cv-136
*
Vv. *
*
WARDEN D. GREENWALT, *
*
Respondent. *
ORDER

After an independent and de novo review of the entire
record, the Court concurs with the Magistrate Judge’s Report and
Recommendation. Dkt. No. 17. Petitioner Miguel Ponce-Gonzalez
(*“Ponce-Gonzalez”) did not file Objections to this Report and
Recommendation.

Accordingly, the Court ADOPTS the Magistrate Judge’s Report
and Recommendation as the opinion of the Court, DISMISSES
without prejudice Ponce-Gonzalez’s 28 U.S.C. § 2241 Petition for

failure to follow this Court’s Orders and Local Rules,?; and

 

1 On the same day the Magistrate Judge issued his Report and
Recommendation, Ponce-Gonzalez notified the Court of a change of
address. Dkt. No. 18. Despite this, Ponce-Gonzalez did not follow
the Order to respond to the Motion to Dismiss; thus, the Magistrate
Judge's bases for recommending the dismissal of Ponce-Gonzalez’s
Petition—failure to follow this Court Orders and failure to respond to
the second Motion to Dismiss-are still valid.

 
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DENIES as moot Respondent’s first Motion to Dismiss but GRANTS
as unopposed Respondent’s second Motion to Dismiss. The Court
also DIRECTS the Clerk of Court to CLOSE this case and enter the
appropriate judgment of dismissal and DENIES Ponce-Gonzalez in

forma pauperis status on appeal.

SO ORDERED, this Te | 2021.

HON | LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUT N DISTRICT OF GEORGIA

 

 
